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1                                                             Judge Robart
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7                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON
8                                   AT SEATTLE
9    UNITED STATES OF AMERICA,             )
                                           )      NO. CR04-549 JLR
10                       Plaintiff,        )
                                           )
11            v.                           )      ORDER CONTINUING
                                           )      TRIAL DATE
12   NHAT HOANG TRAN,                      )
     RASHPAL SINGH SANDHU,                 )
13                                         )
                         Defendants.       )
14                                         )
                                           )
15
             This matter having come before the undersigned Court through a status
16
     conference and by oral motion of counsel, Michael Filipovic, for defendant
17
     Rashpal Singh Sandhu, for continuance of the trial date; the United States,
18
     through the United States Attorney for the Western District of Washington, Susan
19
     M. Roe and Ye-Ting Woo, Assistant United States Attorneys for said district,
20
     having no objection to the request for continuance; and defendant Nhat Tran
21
     present and through counsel, David Roberson, having joined in the request, the
22
     Court being fully advised in the matter, having heard argument of counsel, having
23
     consulted with the defendants in court, and having considered the files and
24
     records herein, now finds that
25
             The trial for these two remaining defendants was scheduled for May 2,
26
     2005. The defendants are waiving their speedy trial rights until August 31, 2005,
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     which is beyond the new trial date of August 22, 2005. The motion is made on
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     ORDER CONTINUING TRIAL/TRAN AND SANDHU - 1                           UNITED STATES ATTORNEY
                                                                           700 Stewart Street, Suite 5220
     CR04-549 JLR
                                                                          Seattle, Washington 98101-1271
                                                                                   (206) 553-7970
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1    several bases: nearly all of the defendants have entered guilty pleas, including
2    five who have plead within ten days preceding this status conference. As these
3    defendants who plead are no longer part of the upcoming trial, all parties stand in
4    significantly different positions for trial.
5            The government must modify its case in chief to address primarily the
6    remaining defendants. The trial will not last a month as anticipated, but may
7    instead last one to two weeks.
8            The remaining defendants may no longer count on other defense counsel
9    to assist in meeting the government’s charges, to handle the substantial
10   discovery, or to finish the preparations for trial.
11           There is a strong possibility that one of defendants, Nhat Tran, will resolve
12   his charges short of trial, however, his recent uncertainty regarding counsel has
13   delayed his resolution. At the status conference Mr. Tran affirmed retention of his
14   current counsel and the parties now may resume discussions of resolution.
15   Mr. Tran is in custody pending trial.
16           The other defendant, Rashpal Sandhu, is out of custody pending trial. His
17   liberty interest is less affected by this continuance.
18           All counsel have been diligent in addressing this matter but all parties
19   believe that this continuance is proper.
20           The continuances are necessary to ensure effective representation and
21   continuity of counsel for the remaining defendants.
22           The Court is aware that time limitations for trial and speedy trial concerns
23   are set forth in Title 18, United States Code, Section 3161.
24           Section 3161(h) outlines the periods of excludable time, including:
25                  (8)(A) Any period of delay resulting from a continuance
                    granted by any judge on his own motion or at the
26                  request of the defendant or his counsel or at the request
                    of the attorney for the Government, if the judge granted
27                  such continuance on the basis of his findings that the
                    ends of justice served by taking such action outweigh
28                  the best interest of the public and the defendant in a

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                                                                                700 Stewart Street, Suite 5220
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1                   speedy trial. No such period of delay resulting from a
                    continuance granted by the court in accordance with this
2                   paragraph shall be excludable under this subsection
                    unless the court sets forth, in the record of the case,
3                   either orally or in writing, its reasons for finding that the
                    ends of justice served by the granting of such
4                   continuance outweigh the best interests of the public
                    and the defendant in a speedy trial.
5

6            In this matter, the Court finds that further time is reasonable and necessary
7    and that the requested time is within the speedy trial time period. Failure to grant
8    a continuance of the trial date would likely result in a miscarriage of justice. The
9    interests of the public and the defendants in a speedy trial in this case are
10   outweighed by the ends of justice, although the ends of justice, especially those
11   which deal with consideration of victims and witnesses, are not impacted by the
12   requested continuance. This trial has few civilians witnesses, other than co-
13   conspirators, and no known victims.
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1            NOW, therefore, the trial date is continued from May 2, 2005 until
2    August 22, 2005, and the time between this date and the new trial date be
3    excluded pursuant to the provisions of Title 18, United States Code, Sections
4    3161(h)(8)(A) as to each defendant.
5            Dated this 25th day of April, 2005.
6

7                                     s/James L. Robart
8                                     JAMES L. ROBART
                                      United States District Court Judge
9

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11
     Presented by:
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13   s/Susan M. Roe
     SUSAN M. ROE
14   Assistant United States Attorney
     WSBA 13000
15   United States Attorney's Office
     700 Stewart Street, Suite 5220
16   Seattle, WA 98101
     Telephone: 206/553-1077
17   Fax: 206/553-4440
     E-mail: susan.roe@usdoj.gov
18

19   s/Ye-Ting Woo
     YE-TING WOO
20   Assistant United States Attorney
     WSBA 21208
21   United States Attorney's Office
     700 Stewart Street, Suite 5220
22   Seattle, WA 98101
     Telephone: 206/553-2268
23   Fax: 206/553-4440
     E-mail: ye-ting.woo@usdoj.gov
24

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                                                                            700 Stewart Street, Suite 5220
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                                                                           Seattle, Washington 98101-1271
                                                                                    (206) 553-7970
